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    SCHLANGER LAW GROUP                                  LLP



                                                                              November 4, 2022

  VIAECF

  Hon. Kenneth M. Karas
  U.S. District Judge
  U.S. District Court - S.D.N.Y.
  300 Quarropas St.
  White Plains, NY 10601-4150

            Re:                  Gil v. Ally Financial, Inc. et al
            Index:               7 :22-cv-05263-KMK

  Your Honor:
          I write on behalf of Plaintiff and Defendants Wells Fargo Bank, N.A., Top Speed Motors,
 LLC, L.J. Marches Chevrolet, Inc. and Hersheys Auto, Inc. to request adjournment of the
 upcoming initial (telephonic) conference. By Order dated October 31, 2022, the Court set the
 initial conference for November 9, 2022. ECF 28. I have conflict on that date. Specifically, I will
 be on a pre-planned trip to Seattle to attend a litigation conference. Moreover, the adjournment
 will allow the parties to explore early settlement and will allow the three dealership Defendants to
 put in their answer or otherwise respond to the Complaint prior to the conference. See ECF 30
 (setting the dealerships' deadline for November 22, 2022).
          The parties respectfully request that the conference be re-set for December 9 or December
  15, 2022. This is a first request for extension and does not impact any other scheduled dates. The
  only party that has not joined this request is Ally Financial, Inc., which has not appeared to date
  and is in default. I will attempt to contact in-house counsel at Ally Financial, Inc. in hopes of
  avoiding motion practice regarding the default.
          The parties understand that pursuant to Your Honor' s Individual Practice Rule I(C), this
  request should have been filed five business days prior to the upcoming conference and apologize
  for the timing of the request. However, the initial court conference in question was ordered on
  Monday of this week and I was out of the office for part of the week. The request is being made
  four days after the parties became aware of the conference and within 24 hours of the parties
  working out mutually agreeable dates for the proposed adjournment.
            We thank Your Honor for consideration of the above request.
  GranJied. The confere~ ce is moved to
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                                                                              Respectfully,
~,deced                  ~                                                    l s/Daniel A. Schlanger
                                                                              Daniel A. Schlanger
  11/4/22

  cc: all counsel of record




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                                       Please use our New Jersey address for all hard copy correspondence.
